                                                     U.S. Department of Justice

                                                     Rachael S. Rollins
                                                     United States Attorney
                                                     District of Massachusetts


Main Reception: (617) 748-3100                       John Joseph Moakley United States Courthouse
                                                     1 Courthouse Way
                                                     Suite 9200
                                                     Boston, Massachusetts 02210

                                                     February 17, 2022

Charles W. Rankin
James L. Sultan
Rankin & Sultan
Attorneys at Law
1666 Massachusetts Avenue, Suite P-16
Lexington, MA 02420


       Re:     United States v. Genoveva Andrade
               Criminal No. 18-10364-DPW

Dear Messrs. Rankin and Sultan:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Genoveva Andrade (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):

       1.      Change of Plea

        Defendant will plead guilty to Count Twenty-Six of the Second Superseding Indictment
(Dkt. No. 69): False Statements, in violation of 18 U.S.C. § 1001(a)(2). Defendant admits that
Defendant committed the crime related to “Statement 3” specified in Count Twenty-Six and is in
fact guilty of making the false statement, “Statement 3” in Count Twenty-Six.

        Upon sentencing of Defendant on Count Twenty-Six of the Second Superseding
Indictment: False Statements, in violation of 18 U.S.C. § 1001(a)(2), the U.S. Attorney will dismiss
the following Counts of the Second Superseding Indictment: Count Twenty, Extortion Conspiracy,
in violation of 18 U.S.C. § 1951; Count Twenty-One, Extortion and Aiding and Abetting, in
violation of 18 U.S.C. §§ 1951 and 2; and Count Twenty-Five, Bribery, in violation of 18 U.S.C.
§ 666(a)(2).


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       2.      Penalties

       Defendant faces the following maximum penalties on Count Twenty-Six of the Second
Superseding Indictment: incarceration for five years; supervised release for three years; a fine of
$250,000; and a mandatory special assessment of $100.

       3.      Sentencing Guidelines

        The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines is 4:

               a) Pursuant to USSG § 2B1.1(a)(2), Defendant’s base offense level is 6; and

               b) In accordance with USSG § 3E1.1(a), Defendant’s offense level is decreased
                  by two, because Defendant has accepted responsibility for Defendant’s crime.

       Defendant understands that the Court is not required to follow this calculation or even to
sentence Defendant within the Guidelines and that Defendant may not withdraw Defendant’s
guilty plea if Defendant disagrees with how the Court calculates the Guidelines or with the
sentence the Court imposes.

        Defendant also understands that the government will object to any reduction in Defendant’s
sentence based on acceptance of responsibility if: (a) at sentencing, Defendant (directly or through
counsel) indicates that Defendant does not fully accept responsibility for having engaged in the
conduct underlying each of the elements of the crime to which Defendant is pleading guilty; or (b)
by the time of sentencing, Defendant has committed a new federal or state offense, or has in any
way obstructed justice.

       If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.      Sentence Recommendation

       The parties agree to recommend the following sentence to the Court:

               a) incarceration for a period of time-served, to be followed by 12 months of
                  supervised release;

               b) a fine of $10,000; and

               c) a mandatory special assessment of $100, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing.
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       5.      Waiver of Hyde Amendment Claim

       Defendant is aware that the Court can award attorneys’ fees and other litigation expenses
to defendants in certain criminal cases. In exchange for the concessions the U.S. Attorney is
making in this Agreement, Defendant waives any claim under the so-called “Hyde Amendment,”
18 U.S.C. §3006A, that is based in whole or in part on the U.S. Attorney’s agreement in Paragraph
1 to dismiss Counts Twenty, Twenty-One, and Twenty-Five of the Second Superseding
Indictment.

       6.      Civil Liability

       This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant’s criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

       7.      Breach of Plea Agreement

        Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant’s pre-trial release or commits any crime following
Defendant’s execution of this Plea Agreement, Defendant cannot rely upon such conduct to
withdraw Defendant’s guilty plea. Defendant’s conduct, however, would give the U.S. Attorney’s
Office the right to be released from its commitments under this Agreement, to pursue any charges
that were, or are to be, dismissed under this Agreement, and to use against Defendant any of
Defendant’s statements, and any information or materials Defendant provided to the government
during investigation or prosecution of Defendant’s case—even if the parties had entered any earlier
written or oral agreements or understandings about this issue.

        Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
before the date of this Agreement.

       8.      Who is Bound by Plea Agreement

         This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

       9.      Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

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